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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                        Plaintiff,          )
                                            )
            v.                              )    No. 4:11CR196 JCH
                                            )                 (FRB)
VICONTO LANORZ JOHNSON,                     )
                                            )
                        Defendant.          )

                            MEMORANDUM AND ORDER

            Presently pending before the court is a Motion To Proceed

In Forma Pauperis And Financial Affidavit (Docket No. 389) filed by

defendant Viconto Lanorz Johnson.           The motion was referred to the

undersigned United States Magistrate Judge pursuant to 28 U.S.C. §

636(b).

            The motion was apparently filed in error.             In the motion

Viconto Lanorz Johnson asserts that he is the plaintiff in this

cause, that he is entitled to relief, and that he is unable to pay

the costs of this proceeding or to give security therefor.               He asks

leave to proceed without prepayment of fees or costs and without

giving security therefor. Viconto Lanorz Johnson is a defendant in

this criminal case.        He has asked for, and been appointed counsel

to represent him pursuant to the Criminal Justice Act.                    He has

filed   a   Financial      Affidavit   in   support   of    his   request     for

appointment of counsel.
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          Therefore,

          IT   IS   HEREBY   ORDERED   that   defendant     Viconto    Lanorz

Johnson’s Motion To Proceed In Forma Pauperis (Docket No. 389) is

denied.




                                         UNITED STATES MAGISTRATE JUDGE


Dated this 7th day of March, 2012.




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